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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    Arthur L. Lewis, Jr., et al.,                 )
                                                  )
                            Plaintiffs,           )
                                                  )     Case No. 1:98-cv-5596
                     v.                           )
                                                  )     Judge Joan B. Gottschall
    City of Chicago,                              )
                                                  )
                            Defendant.            )

                            MEMORANDUM OPINION AND ORDER
          After 14 years of litigation, including an eight-day bench trial and a decision by the

United States Supreme Court, this class action employment discrimination case was closed in

2011 when the court entered a final judgment, that is, an injunctive order dated August 17, 2011

(“injunctive order,” ECF No. 470). In November 2023, an attorney filed a notice of appearance,

ECF No. 762, on behalf of members of the plaintiff class and a motion, ECF No. 763, to enforce

the injunctive order and issue a rule to show cause. Although the motion is titled as one to

enforce the injunctive order, the moving plaintiffs expressly request that this court modify the

injunctive order under Rule 60(b)(5) of the Federal Rules of Civil Procedure. E.g., Mem. Supp.

Mot. to Enforce 12, ECF No. 764. The motion’s substance controls, so it must be analyzed under

Rule 60(b)(5). See Shakman v. Clerk of Cook Cnty., 994 F.3d 832, 840 (7th Cir. 2021). For the

following reasons, the court denies the motion without prejudice.

                                             Background
          Prior orders and opinions detail this case’s complex factual and procedural history. They

are collected in the margin. 1
          This litigation under Title VII of the Civil Rights Act of 1964, as amended (“Title VII”),

42 U.S.C. §§ 2000e et seq., arose out of the City’s 1995 examination administered to applicants

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  Lewis v. City of Chicago (“Lewis III”), 560 U.S. 205, 208–10 (2010); Lewis v. City of Chicago
(“Lewis IV”), 702 F.3d 958, 958–59 (7th Cir. 2012); Lewis v. City of Chicago (“Lewis II”), 2007
WL 869559, at *1 (N.D. Ill. Mar. 20, 2007); Lewis v. City of Chicago (“Lewis I”), 2005 WL 693618,
at *1–6 (N.D. Ill. Mar. 22, 2005).
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for a job with the Chicago Fire Department (“CFD”). See Lewis III, 560 U.S. at 209–10

& nn. 1–2. In 1999, without opposition from the City, this court certified a class of more than

6,000 African-American applicants who took the test. See Min. Order (Dec. 15, 1999), ECF

No. 59. After a bench trial, the court found that the City violated Title VII by using a cutoff

score of 89 on the test and concluded that the City’s hiring practices had an unjustified disparate

impact on class members. Lewis III, 560 U.S. at 209; Lewis I, 2005 WL 693618, at *10–15

(N.D. Ill. Mar. 22, 2005). The City appealed, and the Supreme Court ultimately affirmed this

court’s finding of liability. Lewis III, 560 U.S. at 217.

       The parties litigated remedies for two years in 2005–07. To that end, this court joined

Chicago Firefighters Union Local #2 (“the Union”) and The Firemen's Annuity and Benefit Fund

of Chicago as non-aligned parties for the limited purpose of determining what relief to award.

On March 20, 2007, this court issued a memorandum opinion and order ruling on remedies

issues. ECF No. 391. It was impossible to determine which class members would have been

hired absent the City’s discriminatory hiring practices, so as a partial remedy the court ordered

the City to hire randomly selected class members referred to as “the shortfall group.” Lewis II,

2007 WL 869559 at *1.

       As relevant to the instant motion, the court ruled on the parties’ competing proposals on

how to award retroactive seniority to members of the shortfall group. Id. at *3. The following

quotation from the 2007 opinion encapsulates the parties’ arguments and the court’s decision:

       Plaintiffs propose that the court adopt an “average” seniority date . . . and that all
       members of the shortfall group shall be credited with seniority retroactive to that
       date. The City, with the support of the Union, argues that the shortfall group should
       be credited by lot with seniority between May 16, 1996, and November 1, 2002,
       according to the number of shortfalls for each class. That is, class members would
       be randomly assigned to each Academy class which matriculated between May 16,
       1991 and November 1, 2002, according to the number of shortfalls for each class.
       This better achieves, the City argues, the “make whole” concept of Title VII relief.

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       The plaintiffs' proposed method has the advantage of great simplicity.
       All . . . members of the shortfall group would have the same seniority date, easily
       calculated. The plaintiffs' proposed method has another advantage: it does not try
       to achieve precision when precision is impossible: it is therefore honest. In other

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        words, it does not attempt to give certain persons advantages that others, not they,
        would have enjoyed had the test not been employed in a discriminatory
        manner. . . . The court therefore adopts plaintiffs' proposal of an average seniority
        date applicable to all members of the shortfall group.
Id. The court adopted a single retroactive seniority date of June 1, 1999, for all shortfall group

members. Id.

        Separately, the court considered plaintiffs’ requests that the court alter the applicable

Collective Bargaining Agreement’s (“CBA”) time-in-grade requirements for promoting members

of the shortfall group and compel the City to administer promotional exams on an expedited

basis. See id. at *2–3. Section 9.3(b) of the CBA imposed (and continues to impose) 2 a 54-

month time-in-grade requirement. Id. at *2. Under this requirement, once a candidate has taken

a promotional exam, “no employee may be promoted to engineer or lieutenant who has not

completed fifty-four months in his/her prior classification.” Id. In 2007, plaintiffs asked the

court to lower the time-in-grade requirement for members of the shortfall group to 30 months.

Id. The court stated that the evidentiary record and the parties’ arguments on this subject were

poorly developed. See id. at *1–3. The plaintiffs “argue[d], without evidentiary foundation, that

the time-in-grade requirement serves no important (safety-related or other) function and the City

and the Union argue[d] the opposite.” Id. at *2. The evidence did not refute the proposition that

“the time-in-grade requirement, whatever its purpose” had “the effect of delaying promotions

until individuals have more experience and are better qualified.” Id. at *3.

        On the record at the time, this court also declined to order the City to schedule early

promotion exams for members of the shortfall group to make up for missed promotional

opportunities between 1995 and their entry into the Firefighters’ Academy, which ultimately

occurred in 2012. See id. On balance and on the then-existing record, the court explained that

“[r]equiring promotions when the City's operational needs do not require promotions” would

have been “more disruptive to the CFD than compensatory to the plaintiffs.” Id. (footnote

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 Section 9.3(b) of the 2017 CBA sets a 54-month time-in-grade requirement before a firefighter becomes
eligible for promotion to the ranks of firefighter and engineer. ECF No. 766-5 at 51–52. The ranks of
captain and battalion chief require 30 months time-in-grade. Id.


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omitted). The 2007 opinion added: “If plaintiffs so request, the court can consider giving some

monetary relief to the shortfall group for lost promotion opportunities.” Id. No such request was

made before entry of final judgment.

        As this court instructed, id. at *9, the parties submitted a proposed consent decree

consistent with the court’s remedies rulings. Following an appeal and the Supreme Court’s

decision affirming liability, the case returned to this court in 2011. By consent of the parties, the

controlling injunctive order was entered on August 17, 2011. ECF No. 470. The injunctive order

is a consent decree, i.e., “a court order that embodies the terms agreed upon by the parties as a

compromise to litigation.” United States v. Alshabkhoun, 277 F.3d 930, 934 (7th Cir. 2002)

(citation omitted). The injunctive order required the City to hire 111 class members, i.e., the

shortfall group, and admit them to the Chicago Firefighters’ Academy within 24 months. See id.

¶¶ (A)(2)–(5).

        Consistent with the court’s ruling on retroactive seniority, the injunctive order further

provides, “Any class member hired pursuant to the terms of this Order shall be entitled, after

completion of the contractual nine-month probationary period of employment, to retroactive

seniority credit dating back to June 1,1999 for all purposes for which seniority is considered.”

Id. ¶ (B). One final provision of the injunctive order is relevant to the instant motion. The court

appointed Annette Holt, then a member of the Chicago Fire Department, “to act as an

ombudsman for persons hired pursuant to paragraph A4 [requiring hiring the shortfall group]
during their Academy training, with responsibility for addressing the special needs and problems

of people entering the Academy as a result of this lawsuit and for reporting to the court, if

necessary, on the progress of the shortfall group.” Id. ¶ (D)(1).

        In November 2023, an attorney not previously involved in this litigation, Chiquita Hall-

Jackson (“Jackson”), filed a notice of appearance and the pending motion to enforce judgment. 3

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  During briefing on the pending motion, attorney Sheridan Toddy Yeary filed a notice of appearance for
the moving plaintiffs. ECF No. 782 (Mar. 4, 2024). Only attorney Jackson signed the instant motion and
reply. See Reply 15–16, ECF No. 783.


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Notice of Appearance, ECF No. 762. Counsel subsequently filed an appendix of five exhibits.

ECF No. 766 (Dec. 11, 2023).

        The court set a briefing schedule, which was twice enlarged by agreement. See ECF

Nos. 765, 770, 781. Separate response briefs were filed by the City, ECF No. 776; the Firemen’s

Annuity and Benefit Fund of Chicago, ECF No. 777; and the union representing Chicago

firefighters, ECF No. 779. Plaintiffs attached an appendix of seven additional exhibits to their

reply brief filed March 28, 2024. See Am. Reply, ECF No. 787; App. to Reply, ECF No. 784.

To respond to the new exhibits, the City sought and obtained leave to file a surreply. See

Surreply (May 10, 2024), ECF No. 790.

        Counsel brings the instant motion on behalf of all members of the shortfall group,

consisting of 117 members of the Lewis class hired by the CFD. 4 See Mot. to Enforce 6–7; Am.

Reply 3. In the instant motion, moving plaintiffs assert that they are seeking the “logical next

step of seeking relief of [sic] lost promotional opportunities denied to them by the Defendant

City of Chicago’s unlawful and discriminatory hiring practices for Chicago firefighters.” Mem.

Supp. Mot. to Enforce 7. Broadly speaking, moving plaintiffs argue that they have been

disadvantaged in scoring on promotion examinations by not receiving retroactive seniority to

1999 for purposes of the CBA’s time-in-grade requirements. Moving plaintiffs seek to modify

the injunctive order to provide additional relief for lost promotion opportunities. See id.

at 19-20.

                                              Class Counsel
        Before reaching the issues the parties have briefed, a threshold problem not discussed in

the briefing must be addressed. Prior class counsel did not sign the pending motion to enforce or


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  Plaintiffs represent that six of the 111 members of the shortfall group who entered the Chicago
Firefighters’ Academy in 2012 did not graduate, leaving 105. Am. Reply 3. Moving plaintiffs note
that this was never reported to the court, but they do not request any relief based on that fact. See id. In
addition to the 105, 12 additional Lewis class members who entered the CFD academy in 2015 have
joined the instant action. These class members entered the academy in accordance with an order entered
in Godfrey v. City of Chicago, No. 12-cv-08601. Id.


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the reply brief, and nothing in the record suggests that class counsel approved the instant motion

or participated in preparing it.

        Unlike the current version of the rule, the version of Rule 23 in effect when this court

certified the class in 1999 did not require a class certification order to appoint class counsel. See

Fed. R. Civ. P. 23 (1999); see also Fed. R. Civ. P. 23 Advisory Committee’s Note to 2003

Amendment (discussing addition of Rule 23(g)). The certification order entered in this case in

1999 did not expressly appoint class counsel. See ECF No. 59. Nonetheless, the record amply

demonstrates that court-approved counsel represented the class in a manner consistent with the

present-day version of Rule 23(g). For example, after final judgment was entered, four class

members, represented by attorneys who had not previously appeared, moved to intervene,

arguing that the named plaintiffs and class counsel did not adequately protect their interests.

This court denied intervention as untimely, and the Seventh Circuit affirmed. Lewis IV, 702 F.3d

958 (7th Cir. 2012). The Seventh Circuit’s opinion describes the case’s procedural posture as the

court and the parties understood it in 2012, speaking repeatedly of opposing arguments made by

two groups: “class counsel” and the proposed intervenors, as in the following example: “The

intervenors blame their inaction on class counsel. . . . (Class counsel respond that three of the

four nonetheless knew, well before June 2012, when they sought to intervene, that they would

not share in the remedy.)” Id. at 963. As this example shows, class counsel represented the class

throughout this litigation, including after entry of judgment.
        No order has been entered relieving court-appointed class counsel of their

responsibilities. Because class counsel have been appointed, two avenues exist for absent class

members and/or new attorneys to become involved in this closed case. The first is the procedure

followed by the class members who moved to intervene in 2011. Absent class members

ordinarily must move under Rule 24 to intervene in a certified class action. See, e.g., Zbaraz v.

Madigan, 572 F.3d 370, 376–78 (7th Cir. 2009); Crawford v. Equifax Payment Servs., Inc.,

201 F.3d 877, 883 (7th Cir. 2000). Second, a lawyer has the option of moving to be substituted

as counsel for the certified class. See Fed. R. Civ. P. 23(g).

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          Neither procedural avenue was taken before the instant motion was filed. The motion

must be denied for this reason alone. See Zbaraz, 572 F.3d at 377–78. Because the parties did

not raise the issue of current counsel’s authority, the court will address the arguments made in

briefs.

                               Failure To Exhaust Title VII Remedies
          The City argues that plaintiffs’ motion should be denied because they did not exhaust

their administrative remedies, as required by Title VII. Moving plaintiffs should, the City

contends, be required to file a charge of discrimination with the Equal Employment Opportunity

Commission (“EEOC”), receive a right to sue letter, and then file new lawsuits challenging the

City’s promotion decisions made after 2012. See City Resp. 13–15, ECF No. 776. The City

cites no authority supporting the proposition that Title VII exhaustion is required before the court

can entertain a motion to enforce or modify a consent decree. See id. No such authority exists.

          The injunctive order states: “The Court shall retain jurisdiction of this action for purposes

of construction, implementation and enforcement of the terms of this Order.” Injunctive

Order 12. Language such as this in a judgment preserves the court’s jurisdiction, that is its

power, to enforce and interpret a consent decree after it is entered. See generally Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 381–92 (1994); Jones v. Ass'n of Flight Attendants-

CWA, 778 F.3d 571, 573 (7th Cir. 2015) (collecting cases concerning preserving a district court’s

jurisdiction upon entry of judgment). Even without jurisdiction-retaining language, the equitable
nature of a consent decree invests the court that enters it with continuing jurisdiction to enforce,

and if necessary, modify it. See O'Sullivan v. City of Chicago, 396 F.3d 843, 867–68 (7th Cir.

2005) (citing Frew ex rel. Frew v. Hawkins, 540 U.S. 431, 432 (2004)); Komyatti v. Bayh,

96 F.3d 955, 962–64 (7th Cir. 1996). Consistent with these principles, this court has continuing

jurisdiction to enforce or modify the 2011 injunctive order.

          The Seventh Circuit’s analysis and rejection of a similar argument in United States v. City

of Northlake, 942 F.2d 1164 (7th Cir. 1991), provides helpful guidance. There, the government,

and also the plaintiff, filed a motion to enforce a consent decree that resolved an employment-

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discrimination suit against several Chicago-area municipalities. See id. at 1165–66. As in this

case, the consent decree in City of North Lake required the municipalities to implement a

comprehensive set of reforms. See id. The plaintiff moved to enforce the decree against the City

of North Lake (“North Lake”), alleging that it was failing to implement one of the required

reforms, specifically elimination of a residency requirement for hiring. Among other arguments,

North Lake responded that the plaintiff was bypassing its option of filing a new lawsuit

challenging the city’s residency requirement. See id. at 1167–68. Construing the consent

decree’s plain language, the Seventh Circuit ruled that:

       there [was] no basis for concluding that the subjective hiring practices complained
       of [in the motion to enforce the consent decree] fall outside the comprehension of
       the consent decree. To suggest that the United States may proceed by way of a
       “fresh” complaint if it desires to litigate this issue, App. I at 5, undermines the
       purpose of a consent decree in the first instance—namely, to avoid protracted
       litigation by entering into a court-supervised agreement that resolves the dispute to
       the satisfaction of all parties concerned and guarantees the viability of the
       agreement under the watchful eye of the judge whose signature appears at the end
       of the document.
       Id. at 1168. Additionally, requiring a plaintiff to “file a new lawsuit to remedy allegedly

illegal conduct already embraced by a consent decree would serve as a disincentive to civil rights

plaintiffs contemplating whether or not to enter into such a decree.” Id.

       The Seventh Circuit’s reasoning in City of North Lake applies here. There is no serious

dispute that the moving plaintiffs’ allegations directly implicate the substance and administration

of the remedial scheme embodied in the injunctive order. The injunctive order’s retroactive

seniority provisions were no afterthought. They represent the results of protracted litigation and

negotiations among representatives of the class, the City, and other interested parties. The

arguments moving plaintiffs now make concerning alleged unforeseen consequences falls

comfortably within the injunctive order’s compass. In these circumstances, City of North Lake

teaches that moving plaintiffs’ arguments should be addressed by this court without forcing them

to start the litigation process over. See City of N. Lake, 942 F.2d at 1168; accord. McGee v. Ill.

Dep’t. of Transp., 2002 WL 31478261, at *7 (N.D. Ill. Nov. 5, 2002). The City’s exhaustion

argument is therefore rejected.

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                   Modification of Consent Decree: Changed Circumstances
       Federal Rule of Civil Procedure 60(b)(5) authorizes a party to move for relief from a

judgment if, among other reasons, “applying it prospectively is no longer equitable.”

Fed. R. Civ. P. 60(b)(5). Rule 60(b)(5) permits a court “to relieve from a consent decree any

party who demonstrates that “a significant change in facts or law warrants revision of the

decree.” Shakman, 994 F.3d at 839–40 (7th Cir. 2021) (citing Rufo, 502 U.S. at 393). The party

seeking to modify the judgment “bears the burden of establishing that changed circumstances

warrant relief.” Horne v. Flores, 557 U.S. 433, 447 (2009) (citing Rufo, 502 U.S. at 384).

However, Rule 60(b)(5) “may not be used to challenge the legal conclusions on which a prior

judgment or order rests.” Id.

       During the remedies phase of this case in 2005–07, the parties vigorously litigated how

the shortfall group’s retroactive seniority should be awarded. See Lewis II, 2007 WL 869559,

at *3. The court ruled on the parties’ competing proposals, concluding that on balance the

equities favored setting a retroactive seniority date of June 1, 1999, for all shortfall group

members with an exception to this date for purposes of the CBA’s time-in-grade requirements

(“time-in-grade exception”). See id.; Injunctive Order 4–5. In the pending motion to enforce,

the moving plaintiffs argue that the time-in-grade exception has systematically hamstrung their

ability to compete for promotions since 2012. See, e.g., Mem. Supp. Mot. to Enforce 10, 15, 17,

19. Contrary to the City’s position here, the fact that the parties litigated time-in-grade exception

pre-judgment does not make that subject off limits under Rule 60(b)(5). Rather, the
Rule 60(b)(5) inquiry in this situation focuses on whether circumstances have arisen that were

unforeseen when the consent decree was entered. See Rufo, 502 U.S. at 308–81, 384.

       The Seventh Circuit’s exposition of Rule 60(b)(5) in United States v. City of Chicago,

978 F.2d 325, 333 (7th Cir. 1992), illustrates the point. Similar to the case at bar, the district

court there had ruled that the City’s police department violated Title VII by discriminating

against women, Hispanic employees, and African-American employees in its promotion

practices. See id. at 327. At the remedies stage, the district court held that members of the


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plaintiff class were entitled to backpay and retroactive seniority. See id. at 327–28 & n.2. The

parties proposed a consent decree consistent with the district court’s rulings, which decree the

district court entered. The decree included a formula under which class members would receive

approximately 9% of their back pay and 100% of their retroactive seniority credit. See id. After

the decree was entered, the Chicago Police Pension Board objected strenuously that it would be

saddled with the cost of remedying the City’s discrimination if it were required to recognize

100% of the class members’ retroactive seniority because class members’ pensions would be

underfunded. See id. at 328–29. The Seventh Circuit explained that the Pension Board was not a

party to the litigation, and its objection constituted a changed circumstance for which

Rule 60(b)(5) relief was available. See id. at 333. Consistent with Rule 60(b)(5), the court of

appeals explained that a consent decree modification “is appropriate where an unforeseen

obstacle warrants revision of the consent decree, and a proposed modification is necessary in

order for the decree to remedy adequately the constitutional or legal violation which it was

designed to remedy.” Id.; see also United States v. Jupiter Aluminum Corp., 2009 WL 418091,

at *5–6 (N.D. Ind. Feb. 18, 2009).

       Thus, upon a proper showing, Rule 60(b)(5) gives this court the discretion to modify the

injunctive order’s provisions concerning retroactive seniority, and it also gives this court the

power to enforce them as written. But, for the following reasons, moving plaintiffs have not met

their burden to show that a significant change in circumstances justifies Rule 60(b)(5) relief.
       To show that the injunctive order should be modified, moving plaintiffs cite

unauthenticated exhibits comparing the shortfall group’s promotion rate to the ranks of engineer,

lieutenant, captain, and battalion chief with the promotion rates of Chicago firefighters who

entered the Firefighters’ Academy between 1996 and 2001. See App. to Mot. to Enforce Ex. 3,

ECF No. 766-3; App. to Reply Ex. 3, ECF No. 784-5. According to those comparisons, the

shortfall group lags far behind. For instance, fourteen percent of shortfall group members have

been promoted to engineer while 83.54% of the class entering the Chicago Firefighters’



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Academy in 1996 have been promoted to the rank of engineer or to a higher rank. 5 See ECF

No. 766-3 at 1.

         Moving plaintiffs apparently attribute their lower promotion rates to the use of seniority

in § 9.3(b) of the CBA as a component (up to 30%) of an applicant’s score on a promotion test.

But moving plaintiffs cite no evidence that would allow the court to analyze how and to what

extent the seniority component of the shortfall group’s examination scores contributed to their

non-advancement. 6 And nothing in the record sheds light on how, if at all, the CFD’s promotion

examinations and practices have changed since 2007 (when the court made its remedies

decision) or 2011 (when the injunctive order was entered). See Mot. to Enforce 6–12; Am.

Reply 8–10. Thus, moving plaintiffs have not identified any changed circumstances they allege

contributed to their non-advancement. The record must, but at present does not, show a

substantial change in circumstances from 2007 or 2012, such as an unforeseen development that

justifies revisiting the injunctive order’s provisions on retroactive seniority. See Rufo, 502 U.S.

at 381; City of Chicago, 978 F.2d at 332.

         In deciding not to disturb the CBA’s time-in-grade requirements in 2007, this court

explained that, in consideration of the public safety mission and apparent effect of enforcing the

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  According to the unauthenticated exhibits, no member of the shortfall group has been promoted to
lieutenant or battalion chief.
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  As with the briefing on this issue in 2007, the present round of briefs and evidence “is characterized by
much heat and little light.” Lewis II, 2007 WL 869559, at *2. The appendix of exhibits to the instant
motion consists of five exhibits, none of which are cited in the motion itself. Compare Mot. to Enforce,
ECF No. 763, with App to Mot. to Enforce, ECF No. 766-1 to 766-5. Moving plaintiffs cite no exhibits
in their opening motion, leaving it to the court to determine how, if at all, their exhibits support their
position. See ECF No. 763. The reply brief includes a scattering of citations to exhibits, though no page
numbers are cited, and there is often no meaningful guidance for interpreting the sometimes cryptic
exhibits in the record. Take, for example, exhibit 4 in the appendix to the instant motion, labelled as a set
of exam results from a 2016 CFD promotion test. ECF No. 766-4 at 1–17 (dated Aug. 30, 2018). The
exhibit consists of a table of test takers and results. Some names on the list have been highlighted (by
whom is unknown) in blue, green, yellow, or orange, yet what the highlighting and color selected signify
is a mystery. See e.g., id. at 7. Following the result list is a three-volume, 340-page technical report. See
id. at 18–368. If something important to moving plaintiffs’ claims is buried in the report, they have not
provided any citations to aid the court in finding it. It is not the court’s job to hunt through the record
searching for morsels of evidence to substantiate unsupported claims in a party’s brief. As the Seventh
Circuit has said many times, “Judges are not like pigs, hunting for truffles buried in the record.” Gross v.
Town of Cicero, 619 F.3d 697, 702 (7th Cir. 2010) (brackets omitted) (quoting United States v. Dunkel,
927 F.2d 955, 956 (7th Cir. 1991)).


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time-in-grade requirement, it was “unwilling to require that the City advance the date of

promotional exams and expedite plaintiffs' eligibility for promotion without a thorough

evidentiary presentation and legal analysis of the consequences and propriety of ordering such

relief.” Lewis II, 2007 WL 869559, at *3 n.1.

        Neither the current round of briefing nor the present evidentiary record comes close to the

thorough evidentiary presentation needed to justify revisiting the injunctive order’s provisions on

retroactive seniority. There is no exposition of what criteria were used in the City’s promotion

exams and decisions, no indication that anything in the promotion process has changed, and

nothing approaching a thorough analysis of how the time-in-grade exception affected the

shortfall group’s promotion prospects. If moving plaintiffs want the court to modify the

injunctive order, they must assemble an evidentiary record supporting their position, and they

must comply with the strictures of Rule 60(b)(5) and identify a changed circumstance that

justifies the relief they seek.

        In their reply, moving plaintiffs suggest that they could develop a more fulsome factual

record with the benefit of discovery. See Am. Reply 11. Moving plaintiffs have not requested

discovery, and given the current lack of clarity surrounding who represents the plaintiff class, the

court implies nothing about discovery. For the same reason, the court also declines to address

moving plaintiffs’ request that Holt be replaced as the class’s ombudsman. The parties disagree

about the scope of the ombudsman’s duties, specifically whether they continued after the
shortfall group graduated from the Chicago Firefighters’ Academy. Until the court is certain that

it has counsel before it who have the authority to bind the class, it declines to issue a ruling

construing the injunctive order in a manner that would bind all class members.

                                             Conclusion
        For the reasons stated, the court concludes that, upon a proper showing of changed

circumstances, it has the authority to modify the injunctive order entered August 17, 2011. See

Fed. R. Civ. P. 60(b)(5). However, the record on the pending motion does not demonstrate that

such a modification is warranted. The motion is therefore denied without prejudice. Consistent

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with this order, in the future previously-unnamed class members must apply to intervene under

Federal Rule of Civil Procedure 24, and any attorney wishing to be appointed or substituted as

class counsel must file an appropriate motion under Rule 23(g).


Dated: September 30, 2024                           /s/ Joan B. Gottschall
                                                    United States District Judge




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